 Case
MIED       5:16-cv-10444-JEL-EAS
     (Rev. 8/07) Notice of Correction        ECF No. 2268, PageID.74098 Filed 11/17/22 Page 1 of 1


                                           UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF MICHIGAN

Luke Waid et al


                   Plaintiff(s),                                           Case No. 5:16-cv-10444

v.                                                                         Judge Judith E. Levy

Rick Snyder et al                                                          Magistrate Judge Elizabeth A. Stafford


                   Defendant(s).
                                                          /

                                                  NOTICE OF CORRECTION

         Docket entry number 2264 , filed            11/15/2022            , has been modified. The explanation for the correction

is stated below.

               The docket entry was made on the wrong case.
               The corresponding document image was missing or incomplete.
               The wrong document image was associated.
               The wrong judicial officer was listed on the case docket.
               The filer information was inaccurate or omitted from the docket text.
               The judicial officer information was inaccurate or omitted from the docket text.
               The docket text was changed to include the Partial Payment Order.
          ✔    Other: Party is enjoined from filing on this case. See case 22-mc-51723



         If you need further clarification or assistance, please contact         S Schoenherr            at (313) 234-5000 .



                                                                 .,1,.,$D(66,;, CLERK OF COURT


Dated: November 17, 2022                                            s/ S Schoenherr
                                                                    Deputy Clerk
